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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 20-60297-CIV-ALTMAN/Hunt

  BERNARD MCDONALD,

          Plaintiff,
  v.

  CITY OF POMPANO BEACH, FLORIDA,

        Defendant.
  ________________________________/


                                               ORDER

          On August 30, 2022, the Plaintiff filed a Renewed Motion in Limine [ECF No. 153] (the

  “Motion”). For the reasons stated on the record during the calendar on October 4, 2022, see Calendar

  Call Minutes Entry [ECF No. 160], and during the bench trial on October 11, 2022, see Bench Trial

  Minutes Entry [ECF No. 161], the Motion [ECF No. 153] is DENIED.

          DONE AND ORDERED in the Southern District of Florida, this 12th day of October

  2022.




                                                          _________________________________
                                                          ROY K. ALTMAN
                                                          UNITED STATES DISTRICT JUDGE
  cc:     counsel of record
